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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA
UNITED STATES OF AMERICA,                     )                CASE NO. 8:11CR401
                                              )
                     Plaintiff,               )
                                              )                    ORDER
v.                                            )
                                              )
AGAPITO AGUILAR-SOSTENES,                     )
                                              )
                     Defendant.               )



         THIS MATTER is before the Court on the defendant’s Motion to Determine
Competency (no. 45), pursuant to 18 U.S.C. § 4241. The motion was heard on March 22,
2012. Appearing at the hearing were the defendant, his counsel, Shannon P. O’Connor,
and Assistant United States Attorney Meredith Tyrakoski.
         The hearing was held and evidence was adduced regarding the defendant’s
competency to stand trial. The government had no objection to the defendant’s motion.
The Court finds by a preponderance of the evidence that the defendant is suffering from
a mental disease or defect rendering him mentally incompetent to the extent that he is
unable to understand the nature and consequences of the proceedings against him or to
assist properly in his defense.
         IT IS THEREFORE ORDERED that the defendant’s motion is granted and the
defendant is committed to the custody of the Attorney General to hospitalize the defendant
for treatment in a suitable facility for a reasonable period of time, not to exceed four
months, as is necessary to determine whether there is a substantial probability that in the
foreseeable future he will attain the capacity to permit the proceedings to go forward.
         DATED this 28th day of March, 2012.

                                             BY THE COURT:



                                             s/ Joseph F. Bataillon
                                             U.S. District Court Judge
